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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA             )
                                     )
v.                                   )      Case No. 21-cr-00028(APM)
                                     )
THOMAS E. CALDWELL, et al.           )
    Defendants                       )

                                    ORDER

      Upon the Motion to Withdraw by Thomas K. Plofchan, Jr. and Westlake Legal

Group, PLLC as counsel for Defendant Thomas Edward Caldwell.

      IT IS APPEARING David W. Fischer of Law Offices of Fischer and Putzi, PA

entered his Notice of Appearance on February 23, 2021 on behalf of Defendant

Thomas Edward Caldwell.

      IT IS HEREBY ORDERED that Thomas K. Plofchan, Jr. and the Westlake

Legal Group, PLLC are withdrawn from the representation of Defendant Thomas

Edward Caldwell in the above-styled case.


February __, 2021                    _______________________________________
                                     Judge Armit P. Mehta, U.S. District Judge
